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                                                                          6                        IN THE UNITED STATES DISTRICT COURT
                                                                          7                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                                                              )          Case No. C 07-5944 SC
                                                                          9   In re: CATHODE RAY TUBE (CRT)   )
                                                                              ANTITRUST LITIGATION            )          MDL No. 1917
                                                                         10                                   )
                               For the Northern District of California
United States District Court




                                                                              This Document Relates to:       )          ORDER GRANTING IN PART AND
                                                                         11                                   )          DENYING IN PART TOSHIBA'S
                                                                              Schultze Agency Servs., LLC v. )           MOTION TO DISMISS SCHULTZE
                                                                         12   Hitachi Ltd., No. 12-cv-2649-SC )          AGENCY SERVICES, LLC'S FIRST
                                                                                                              )          AMENDED COMPLAINT
                                                                         13                                   )
                                                                                                              )
                                                                         14                                   )
                                                                         15
                                                                         16   I.     INTRODUCTION
                                                                         17          Now before the Court is the Toshiba Defendants' 1 Rule 12(b)(6)
                                                                         18   motion to dismiss Plaintiff Schultze Agency Services, LLC's 2 first
                                                                         19   amended complaint.       ECF No. 1980 ("FAC").      The Philips Defendants
                                                                         20   join in the motion. 3      The motion is fully briefed.       ECF Nos. 2108
                                                                         21   ("Mot."), 2245 ("Opp'n"), 2282 ("Reply").           The Court finds it
                                                                         22   appropriate for resolution without oral argument, Civ. L.R. 7-1(b).
                                                                         23
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                                                                         24     The Toshiba Defendants are Toshiba Corporation, Toshiba America
                                                                              Information Systems, Inc., and Toshiba America Electronic
                                                                         25   Components, Inc.
                                                                              2
                                                                         26     Schultze is suing on behalf of Tweeter Opco LLC and Tweeter Newco
                                                                              LLC (collectively "Tweeter"). The parties and the Court
                                                                         27   accordingly refer to Tweeter, not Schultze, where appropriate.
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                                                                         28     The Philips Defendants are Koninklijke Philips N.V. and Philips
                                                                              Electronic North America Corp.
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                                                                          1   The motion is GRANTED in part and DENIED in part.
                                                                          2
                                                                          3 II.     BACKGROUND
                                                                          4         The parties are familiar with the general facts of this case,
                                                                          5   which is an antitrust action concerning the alleged price-fixing of
                                                                          6   cathode-ray tubes ("CRTs").      A brief factual summary relevant to
                                                                          7   the instant motion follows.
                                                                          8         The Toshiba Defendants are companies that are all alleged to
                                                                          9   have manufactured, marketed, sold, or distributed CRT Products in
                                                                         10   the United States, either directly or through subsidiaries or
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                                                                         11   affiliates.   FAC ¶¶ 58-63.    The Philips Defendants are Dutch
                                                                         12   companies alleged to have done the same things.         Id. ¶¶ 43-47.
                                                                         13   Plaintiffs allege that the Toshiba and Philips Defendants
                                                                         14   participated in an international conspiracy to fix the prices of
                                                                         15   CRTs, and that they never effectively withdrew from it.            Plaintiffs
                                                                         16   also contend that the Toshiba and Philips Defendants, as well as
                                                                         17   other Defendants, were highly interrelated, as when they formed
                                                                         18   CRT-related joint ventures.      Plaintiffs state that they bought
                                                                         19   price-fixed CRT Products "directly from Defendants and co-
                                                                         20   conspirators, and/or Defendants' and co-conspirators' subsidiaries
                                                                         21   and affiliates, and/or any agents controlled by Defendants,
                                                                         22   Defendants' subsidiaries and affiliates, co-conspirators or co-
                                                                         23   conspirators' affiliates," as well as from original equipment
                                                                         24   manufacturers ("OEMs") and other suppliers.
                                                                         25         The Toshiba Defendants now move to dismiss.        The Philips
                                                                         26   Defendants join this motion.
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                                                                          1 III.   LEGAL STANDARD
                                                                          2        A motion to dismiss under Federal Rule of Civil Procedure
                                                                          3   12(b)(6) "tests the legal sufficiency of a claim."          Navarro v.
                                                                          4   Block, 250 F.3d 729, 732 (9th Cir. 2001).        "Dismissal can be based
                                                                          5   on the lack of a cognizable legal theory or the absence of
                                                                          6   sufficient facts alleged under a cognizable legal theory."
                                                                          7   Balistreri v. Pacifica Police Dep't, 901 F.2d 696, 699 (9th Cir.
                                                                          8   1988).   "When there are well-pleaded factual allegations, a court
                                                                          9   should assume their veracity and then determine whether they
                                                                         10   plausibly give rise to an entitlement to relief."         Ashcroft v.
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                                                                         11   Iqbal, 556 U.S. 662, 664 (2009).      However, "the tenet that a court
                                                                         12   must accept as true all of the allegations contained in a complaint
                                                                         13   is inapplicable to legal conclusions.       Threadbare recitals of the
                                                                         14   elements of a cause of action, supported by mere conclusory
                                                                         15   statements, do not suffice."      Id. at 678 (citing Bell Atl. Corp. v.
                                                                         16   Twombly, 550 U.S. 544, 555 (2007)).       The allegations made in a
                                                                         17   complaint must be both "sufficiently detailed to give fair notice
                                                                         18   to the opposing party of the nature of the claim so that the party
                                                                         19   may effectively defend against it" and "sufficiently plausible"
                                                                         20   such that "it is not unfair to require the opposing party to be
                                                                         21   subjected to the expense of discovery."        Starr v. Baca, 652 F.3d
                                                                         22   1202, 1216 (9th Cir. 2011).
                                                                         23        Claims sounding in fraud are subject to the heightened
                                                                         24   pleading requirements of Federal Rule of Civil Procedure 9(b),
                                                                         25   which requires that a plaintiff alleging fraud "must state with
                                                                         26   particularity the circumstances constituting fraud."          See Kearns v.
                                                                         27   Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009).          "To satisfy
                                                                         28   Rule 9(b), a pleading must identify the who, what, when, where, and



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                                                                          1   how of the misconduct charged, as well as what is false or
                                                                          2   misleading about [the purportedly fraudulent] statement, and why it
                                                                          3   is false."      United States ex rel Cafasso v. Gen. Dynamics C4 Sys.,
                                                                          4   Inc., 637 F.3d 1047, 1055 (9th Cir. 2011) (internal quotation marks
                                                                          5   and citations omitted).
                                                                          6
                                                                          7 IV.      DISCUSSION
                                                                          8          A.    Ownership or Control
                                                                          9          The Toshiba and Philips Defendants argue first that Plaintiffs
                                                                         10   have failed to allege facts that would support federal antitrust
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                                                                         11   standing under the "ownership or control" exception of Illinois
                                                                         12   Brick v. Illinois, 431 U.S. 720 (1977).           That case, now quite
                                                                         13   familiar to all parties in this MDL, 4 set forth several exceptions
                                                                         14   to the general rule that plaintiffs who purchased allegedly price-
                                                                         15   fixed goods indirectly -- i.e., not from the ultimate price-fixer -
                                                                         16   - lack standing to bring a federal antitrust case.             See In re ATM
                                                                         17   Fee Antitrust Litig., 686 F.3d 741, 749 (9th Cir. 2012).              One
                                                                         18   exception, the "ownership or control" exception, provides for
                                                                         19   standing when a plaintiff bought the allegedly price-fixed good
                                                                         20   from an entity owned or controlled by the ultimate price-fixer.
                                                                         21   Id.
                                                                         22          The Court finds for Tweeter.         Tweeter's allegations are
                                                                         23   sufficient to invoke the ownership or control exception at this
                                                                         24   time.     Tweeter pleads that it purchased CRT Products from
                                                                         25   Defendants, their affiliates or agents, or any agents that
                                                                         26   Defendants or their subsidiaries controlled, and that it was
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                                                                         28     See, e.g., ECF No. 1470 ("Order Re: Defs.' Joint Mot. for S.J.")
                                                                              ("S.J. Order.")).


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                                                                          1   injured when it paid artificially high prices for those products.
                                                                          2   Defendants contend that this is insufficient pleading, and that
                                                                          3   Tweeter should essentially have to name all of the entities from
                                                                          4   which it purchased CRT Products.         But in this long-running case, in
                                                                          5   which significant evidence of the alleged conspiracy is in the
                                                                          6   record, and Defendants have long had notice of the claims against
                                                                          7   them, the Court does not find it necessary to require Tweeter to
                                                                          8   adhere to Defendants' pinpoint pleading standards.             Further,
                                                                          9   Defendants continually point to Tweeter's allegations that they
                                                                         10   purchased CRT Products "from original equipment manufacturers
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                                                                         11   ('OEMs'), as well as other suppliers," but this pleading comes
                                                                         12   directly after the sentence stating that Plaintiffs purchased CRT
                                                                         13   Products from entities that would entitle Plaintiffs to the
                                                                         14   ownership or control exception at the pleading stage. 5
                                                                         15          This is sufficient to entitle Tweeter to invoke the ownership
                                                                         16   or control exception as a pleading matter.           Whether they have the
                                                                         17   facts to prove it is a different issue.           The motion is accordingly
                                                                         18   DENIED on these grounds.
                                                                         19          B.    Massachusetts Law
                                                                         20          Tweeter also asserts a cause of action under the Massachusetts
                                                                         21   Consumer Protection Act ("MCPA"), Mass. Gen. Laws            ch. 93A, § 1 et
                                                                         22   seq.     Tweeter cites specifically Section 9 of the MCPA, which
                                                                         23   provides a cause of action for "[a]ny person, other than a person
                                                                         24   entitled to bring action under section eleven of this chapter, who
                                                                         25   has been injured by another person's use or employment of any
                                                                         26
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                                                                         27     Defendants also point to the fact that the Court dismissed
                                                                              Sharp's complaint against the Thomson defendants, ECF No. 1960, but
                                                                         28   that concerned different parties, different pleadings, and a
                                                                              different issue on a motion to dismiss.


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                                                                          1   method, act or practice declared to be unlawful by section two [of
                                                                          2   this chapter]."       Section 2 of the MCPA makes unlawful "[u]nfair
                                                                          3   methods of competition and unfair or deceptive acts or practices in
                                                                          4   the conduct of any trade or commerce," and the parties do not
                                                                          5   dispute that the activity Tweeter alleges would fall under this
                                                                          6   section.        The parties' dispute involves whether Tweeter can bring a
                                                                          7   claim under Section 9 at all, or whether their claim can only arise
                                                                          8   under Section 11.       Defendants contend that the two sections of the
                                                                          9   MCPA are mutually exclusive, and that Twitter may only bring a
                                                                         10   claim under Section 11, which provides a cause of action for
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                                                                         11   entities that participate in trade or commerce (as Tweeter
                                                                         12   undisputedly does) but prohibits indirect purchaser suits. 6
                                                                         13   Defendants also argue that Tweeter did not comply with the MCPA's
                                                                         14   notice provisions.
                                                                         15              i.        Sections 9 and 11 of the MCPA
                                                                         16          Tweeter responds, first, that Section 9 is not limited to
                                                                         17   consumer claims, because it provides a cause of action for "any
                                                                         18   person," and corporations are persons under Massachusetts law.
                                                                         19   Opp'n at 13 (citing Mass. Gen. Laws ch. 4, § 7(23) ("person"
                                                                         20   includes corporations)).        Tweeter contends that it satisfies each
                                                                         21   element of a Section 9 claim: (1) it is a "person," since
                                                                         22   corporations are persons in Massachusetts; (2) it is not "entitled"
                                                                         23   to bring a claim under Section 11, since Section 11 is reserved for
                                                                         24   direct-purchaser claims; and (3) it has been injured by Defendants'
                                                                         25   alleged unlawful practices.         Tweeter concludes that even if Section
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                                                                         27     The parties agree that Massachusetts does not permit indirect
                                                                              purchaser suits, an interpretation that is in line with
                                                                         28   Massachusetts law. See Ciardi v. F. Hoffman-La Roche, Ltd., 762
                                                                              N.E.2d 303, 312 (Mass. 2002).


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                                                                          1   11 does not provide a cause of action for it, Section 9 must, since
                                                                          2   interpreting Section 11 as being the exclusive avenue for
                                                                          3   businesses to bring antitrust claims in Massachusetts would result
                                                                          4   in allowing indirect-purchaser businesses to file meritless claims,
                                                                          5   rendering the statute's language about being "entitled" to bring a
                                                                          6   claim essentially meaningless.
                                                                          7        Defendants oppose this argument, citing a Supreme Judicial
                                                                          8   Court of Massachusetts case holding that the MCPA "creates a sharp
                                                                          9   distinction between a business person and an individual who
                                                                         10   participates in commercial transactions on a private,
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                                                                         11   nonprofessional basis.     For example, where § 9 affords a private
                                                                         12   remedy to the individual consumer . . . an entirely different
                                                                         13   section, § 11, extends the same remedy to '[a]ny person who engages
                                                                         14   in the conduct of any trade or commerce.'"        Reply at 8 (citing
                                                                         15   Lantner v. Carson, 373 N.E. 2d 973, 976 (Mass. 1978)).             That case
                                                                         16   rejects interpretations of the MCPA under which "the 'persons'
                                                                         17   covered by § 9 and 11 would be identical," because "[s]ection 11
                                                                         18   would thus be superfluous merely a repetition of § 9."             Id.   The
                                                                         19   First Circuit is similarly clear: "By their terms . . . the two
                                                                         20   sections of chapter 93A that create private rights of action are
                                                                         21   mutually exclusive . . . section 11 affords no relief to consumers
                                                                         22   and, conversely, section 9 affords no relief to persons engaged in
                                                                         23   trade or commerce."    Cont'l Ins. Co. v. Bahnan, 216 F.3d 150, 156
                                                                         24   (1st Cir. 2000).
                                                                         25        The Court agrees with Defendants.        Tweeter's argument is
                                                                         26   engaging, but ultimately, the Supreme Judicial Court's reasoning
                                                                         27   and statutory interpretation must prevail.        The Court declines to
                                                                         28   collapse Sections 9 and 11: Section 9 applies to persons



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                                                                          1   (individual consumers or corporations) not involved in trade or
                                                                          2   commerce.   Section 11 provides a cause of action to persons who are
                                                                          3   so involved, but Massachusetts law still does not provide an
                                                                          4   antitrust cause of action for indirect purchasers.          This does not
                                                                          5   mangle statutory interpretation, as Tweeter contends.          It only
                                                                          6   means that, while corporations engaged in commerce can bring suits
                                                                          7   under Section 11 and potentially win them, a corporation engaged in
                                                                          8   commerce whose suit is based on indirect purchases will not have
                                                                          9   standing under Section 11.
                                                                         10         Tweeter makes several further arguments based purportedly on
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                                                                         11   policy and common sense -- that corporations engaged in trade
                                                                         12   should be able to bring the same kinds of unfair competition suits
                                                                         13   that individual consumers can -- but the Court declines to address
                                                                         14   these points.   They are the domain of the Massachusetts legislature
                                                                         15   and courts of appeal.
                                                                         16         Finally, since Tweeter's claim under either provision of the
                                                                         17   MCPA is barred, the Court need not address whether it met the
                                                                         18   statutory notice requirements.
                                                                         19   ///
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                                                                          1   V.   CONCLUSION
                                                                          2        As explained above, the Toshiba Defendants' Rule 12(b)(6)
                                                                          3   motion to dismiss Plaintiff Schultze Agency Services first amended
                                                                          4   complaint is GRANTED in part and DENIED in part.         Tweeter's federal
                                                                          5   antitrust claim is undisturbed, but Tweeter's Massachusetts
                                                                          6   Consumer Protection Act claim is DISMISSED WITH PREJUDICE.
                                                                          7
                                                                          8        IT IS SO ORDERED.
                                                                          9
                                                                         10        Dated: March 13, 2014
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                                                                         11                                            UNITED STATES DISTRICT JUDGE
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